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Service of Process
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TEL£FHO!I£:

Joe mem Fitf. vs. Gulden Ru%z insurance Compa:'sy and Chascer §§moldas, S)Hs.
Letter, Summons, Rewm Form, Cumptaim

391!1 Judicial Disuict Circuit Ceurt at Memphis, TN
Case # CT-Ui&'| 949

insurance Litigo'¢lz§on - Po£ia:y benefits claimed fur medical services rendered ~
Seekirrg $250, .GD

C T Co:paratior\ System, Kmxviile, TN
By certified Mail nn osm;zoz)o postmarked an 05101;2009
Wi£hin 30 days after serving mt inc\uding the day of service

when D. Flynn

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119 South Main Street

Sl£i£e 599

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w CT Corpnration System on 95?9412|.3€39.

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S’i`A'I`E GF ?ENNESSEE
I)EPARTMENT OF C{)MM`ERCE AND INSURANCE
598 ]AMEIS R£)BERISON PARKWAY

§‘~IASHVILLE. TN 3'?243-1 131
A;)ril 3[}, 2009
Goiden Ru!e lowrance Company CERTlFiE.D MA¥L
300 S. Gay Str<~>et, Ste 20.’»3‘11 % G “i" Corp. RETURN RECEFP*T RECIUESTEU
Knnxviife, TN 37929~9??[3 '/`DDS 1839 GGO£J 6982 823-3
NA|C # 62236 Cash§er # 2?=$?

Re: Joe Moscon V. Goiden Rule msuzance Company

Docket# Ct~€}{!*|§“?D-BQ

 

`E“o thm it May Cor;cem:

We ana enclosing herewith a document that has been sawed era this depariment on your behalf in connection wiih
the above»$ty%ed matter.

t hereby make oaih that the attached Breach 0? Comrac£ Compta§n{was served on me on Apri§ 2?, 2£109 by doe
Mos.con pursuant to“fenn. Code Anzz. § 56"2»564 or § 56~2-596. Acopy of this document is being sent to me
Circuit Coz:rt of SLWHJY Gounty, TN.

Brenda C. Meade

Designa!ed Agent
$ervice of Proces$

'Enciosures
cc: Circutt Court Ciefk
Sheiby G<>unty

'?40 Adams Street, Rm 324
Memphis, Tn 38103

Sen¢ice cf process 61 51532.5269

 

 

 

 

Case 2:09-CV-02332-BBD-tmp Document 1-1 Filed 05/27/09 Page 3 of 15 Page|D 7

f‘", Y¢’_'CIRCUI’I') COURT OF TENNESSEE
146 AI)AMS AVENUE ME.Z"+CPHIS, TENNESS}§E 38§(?3

FDR 'I`]EIE TH]RTIETH J`UDICIAL I)ISTRIC'.Z` AT MEMPHIS

 

 

 

 

 

 

 

 

 

 

 

 

._ SUME\\'{ONS IN CIVIL AC'I`ION ,
NO. CT-UU_I 51 §3-09 A`i} DAI\-*INUM SMSWQ“{],OOG“Q§ AUTG § OTHHR §§
JOB MOSCON mm
Homc Adci:ress
vsr PLAINHFF les,iiwss Add:¢‘ss
GOLDEN RULE INSURANCH COMPANY and
CHARL]SS SHM`OLUAS Home: A:idress
DEFENDANT B“$iHBSSAdGESS

T{) m DEFMDANF{S}; G<)kie):a. Rule Insurmce Compzny cfc the Cormnission»:r ofCommcrce and hzsuram<:r:
Division of Service ofProcess, 500 lanes Robertson Pkw§z, ‘Jc]unteer Plaza Bldg, Nashvj}.le, TN 3?243-1§3§

 

You are hereby ammc)md and required ‘IO defend a civil action by iiling your answer with the C]erk 0£ thc Cc:nrt and
serving a copy of your answer m 513 Compiaint on Mi¢h@l¢ HOWHJ`§’FYY-'ln Plaint.§`€s

'IHIR'£`Y (30 ) DAYS after this S\lmm<)ns has been Ssz'ved upon you, not inc§ud§ng the day of service If you faii to do so, a

judgment by default may be iaicer; against you for the rc:§)`.ef demanded iz: the ComplainL
MY MOORE, Cleric
KENI‘Q'Y ARMSTRONG, Clerk & Mastc:r

?ESTE;) AND msz id g 200€ By ;).C.
TG ’£H}§ DEFENDANT{S}:

NO'I'ICE: Pursu€mt to Chapte=r 919 of the Public; Acts of ]?8£}, you are hereby giv<m the fol'zowing nodoe;

Teanesscc law provides a four ihc>usmmi ziollm (54,0{){)} pm‘sona§ prop-any exemp!cion from execution or seizure to saiisf`;.f a judgmem. li`

a judgment Slz,ot:lé be entered against you in this action and you wish to claim pmpcrty as mmpt, you must B-£f: a wxi?ien list, under

oath, of+hc isems you wish to claim as exempz wim fha Clec‘i: ofthc Com E`he h'sr may be filed at any time and may be changed by you

ihe:\QaPzer as neces$ary; hewever, mims .i£ is iied befora the judgmmt harmless fina§, ii wEl not be effective as to any execut`can or

garnishment issued prioy to the iiing ofthe lisa Cm'tain items arc automatically exemp: by iaw amf do sum need to be listed These

include items of necessary W¢aring apparel (Clmhioz»;) for yourself m your family and mank: er adm m¢¢p:ac'ac.a necessary so contain

. such appaze§, famin portraits, the family Blbie ami wheel books Shou}d any of these items be seizcd, you would have the right to

recover them If you do rmi mdu$tand your exemption right or how 19 exercise £1, gsa may wish to seek file counsel of a lawyer.

COS'I` B{}NI}

§ hamby acknowledge and bind myse}f for the prosecution ofthis action and payment of ali costs mci to moved 3590.(}§ m
Lhis com which may at amy time be adjuéged against the piaimiji`hl fha event said plaintiffshall not pay the same

 

 

 

‘;*»Fimezs:s My Hazld this day z)f ,2€3

Cea'tifasation when applicable
S ure€y

I, K.`ENN Y ARMS'IRONG, C§er§c &' Ma.sts:: 1, .TI}\J,.G\)§Y MOORB, C£cri< of the Circuit
of the C§zazzcery Cou§t, Shei?oy Coum‘y, C{nzri, Shelby Comty, 'l`enszessee, C€n`i:f'y
Tennes$ee, cea'?.ify €his to be a T~:ue and this to be a true and accurate gopy as fiieé
accurate cams as filed this this n
KENNY ARMSTRQNG¢ Céerk & Master ngme MQQR§, C;Hk

By: , D.C, B§_»': , D.C.

 

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MMMWMWM1--Filed 05/27/09 Page 4 of 15

RE’IURN ON SERVICE {)F SUI\'BFIONS
IHERBBY CER'§`§:FY THAT § HA‘»/Y SBRVED 'I`HE WI’E“£HN SUMONS:
By delivering an die day of , 20 mm ai *_m

a copy cfthe summons and a copy of the C<)mplaint 10 the foilow)`:lg defend<’:uts

Page|D 8

 

Mm; Lum~eu, Sh¢r_iff
BY

 

PR,'EVATE PROCESS SERVER
l IIEREBY CERTB?Y TH.AT 1 HAVE SERVED 'I`HE WITHIN SUM}\&ON S;

 

 

summons and a copy of the Comp}aint to the foliowing defendants

flequ Sheri£f:`

By delivering on the day cf ` 20 m M, a copy 0¥?31€

 

{PZ,,EASE PRIN“I‘ ’I`HE POLLOWB‘$G}

 

 

 

 

 

 

Privaze Process Server A<SGI‘¢SS
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Comp`a§y _ w
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thucr manner of service:

 

 

 

3 hereby certify that f have NOT served this Summons on the wi';h§n named defendant{s}

 

 

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fdicng reason($):

 

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Mark Lx).m"€:l}.a Sherif§

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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FQR THE TH§R§“):E’§H amch D§STR§CT §§ M§; ..

i, §§§§§.§Y §§00§£, ozark
JOBMOSCON, of the Cifcuét Court, Sh§;-§z)y

Coun'{y Tenn@ssee eri:§fy this ' _
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as ?e ls ‘
"_ " y§@f@ 0 f ?
f ` l€§'.,{ D,I;`gyl}emanded <D]`/,

GOLDEN RUL`E B'~?SURANCE COMPP;`:\TY
AND C§-§ES’§"ER SI~IMGL&DAS,

 

 
 

Defexzdams,

 

 

COMPLAINT

 

COM.ES NOW the piaintiff’, zee Moscon, and for cause of action against the defendants,

Golci€o Rul€ I:asm‘ance Corrzpany and Ches§er Shme}das, would rmpec§§u§ly allow 10 the Court as
.. follows:

1- Tizs: plaintiff 30€: Moscon, is a residence of Sheiby Cowlty, "i`ennessee.

2. The defendant Golden Ru§e Insmance Compzw.y, is a foreign insurance company
Wit?:§ its principfe place of business located ar 1312 Elevent}s Sf:reet, Lawrec§<:sville, Biinois. This
cicfendant may be served with process Z)y serving the Tem.:essee Commi§§sioner of Inmzmce and
Commerce.

3_ The defendant, Cheater Shmolda$, is a resident 05 Shelby County, Tennessee and
may be served With process ai 1353 residcn<:e, i'!OG Reié Hook<zr Road,, Eads, Tennesse€:.

4. The events giving rise to ihis Ca.use cf action occurred in Shelby sz;§ty_,
T¢mzlessee and, accordingly, this cho:ablc flaum has jurisdiction and venue in this cause.

’\`. At all times pertinent herein, the def`e:zdam, C`§es‘c€r S});mc>ldas, was an i§sua"ance

producez' licenseé by the Sta,te of ?ennessee, hoiding license `No‘ 933'?3¢.. "“"w infomza§ion and

 

 

 

 

 

 

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believe, at the times pertinem herei§, faa defendant Ch§,~ster Sbmoldas, bad been appcimed as an
agent for the defendant, G<)ldem Ru§e lnsur§mce Cczmgoany, pursuant to the provisions of T.C.A.
§ 56'6~115.

6. Upon the solicitation made to hirii by the defczi<lailt, Ch¢s€cr Shmolrlas, the
Pl€ii¥lfiif 306 l‘~.ri€»c)s.<:<>zi3 on or aboui February 24= 2003 submitted ali application for insurch as
pad of the enrollment process for niem`ber.=ship in Federat`§en cf Amct“ican Consum+::rs and
Travelcrs C;"`ACT). ’ll;ais application for insurance Wa.s made by the plaintiii’ to obtain insuz‘imce
coverage for heali‘hcaz’e and medical benefits for the pizzde and 1113 verif»a~, Susazme Moscon.
This applica§ion also included an optimal ’l"erm Life B€znefit.

?'. Plain§ifl.`, lee M<)scen, participated in an interview conducted by the de£endant,
Chestez: Shmoldas, as the agent for 2113 ée§`endan§, Goldeii Rule insurance Cc+mparz§’. fit that
time, the plaa'miil` provided me and eonect responses to the qucs§ic)ns posed to him by the
defendant insurance agan tc the best of the plaintlft’s uadei'sianding of these questions. '£`he
application Was completed totally by the d€fendant, Chester Smoldas wlm, in fact, affixed an
electronic signalme for both the plaintii°f, loe D. Moscon, and the plaintist Wife, Susazme D.
Moscon. 'l`he application Was completed at a Worl§. site of the plaintiff who is engaged i:§ the _
landscaping busines:»;. Ai: that tim€:, the §iain§ii§`, Who is 'a magazine Sm<)l<er; Was Smeking in the
presence ofthe defendant Chcstei' Slimo}das ai the time §§ the application interview

S. The defendant, Golden Rule insurance Compauy, under fha global policy issued
to FACT {Polioy N<)i 66?311}2{365), issued its Mi§cate No. 058~326~639 to time plaintiff with

331 e§if“¢ctive coverage date ofMar<:h l, 290?.

 

 

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94 Subscqizcnt to thc issuance of this certificate ct ccvcragc, mci up dunnth all times
pertinent tc this matter, the pizmitii"f timely pai¢i amf the dcfcgdam Gelcten fich hammicc
Companj; acceptcd, monthiy premiums for this insurance ccvcragc.

i{}. 011 Dcccmbcr 22, 2$0?, tile p}aintift` presented to Saint Francis Bartlct? Hcspita]

emergency room with symptoms cf a myocardial intention (heart attack). Hc Was there

 

stabilized medicain for this condition and subsequently mdct'went catheterization and coronary n
angioplasty Sncccsst`uliy and Was discharged homc.

1§. Accorciing to tile pickich treating caidiolc\gist, the best medical evidence
available indicates that this heart condition Was act diagnosed prior to Dcccmbcr 22, 2097 with
the onset of thc diagnosis of capich problems dated item Decarnizer 22, 2001

12. Althcugh having accepted thc ptaintift‘s application for insurance coverage and,
fnr’€hc:r, having accepted many months of prmiiim pamcnts, thc dcfent?.ant, G<)idcn Ruic
lnsurancc Company, upon receipt cf timely submitted charges for medical care rendered itt
tz'cetmcnt of thc Dcccm§)cr 2.'?., 2097 heart attach for the Erct timc subjected the plainti§`s
appiication to the underwriting process. in that regard, for the first timc, the éefcnciz=.nt Golécn
Ru`,!c insurance Compcny zequcstcd medical authorizations from thc piaiuti§ftc allow it access to
his past medical tcccrds. Thc plaintiff tillly cooperated wit§a the Dcfcndant, providing tile
Dc£cndatit, Goir:'tcn Ru§c insurance Ccmpaz:y, with the requisite authorizaticnzs to obtain any
czedica§ records cr cthct information it sought regarding the plaintiff.

i'_’), 03 Apri.i 3, QGDS, the dcfcndarzt_. Go§cie:l Rttic insurance Ccmpany, denied

coverage tc the plaintiff t“cr thc reasonable and necessary medical expenses itc §iad incurrcci in

 

treatment of the hcc.rt attack Wizich occurred on Dcccmtzcr 22, 200'?. in dcing sc, thc defendant

Gci»:icc Ruie lnsurancc Ccmpzmy, attempth tc “vci{;§" ccvczagc from its inception date based

 

 

 

 

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Soicly upon its posz~elaim underwriting md investigation of the plaintiff A copy of ‘€he Apzi`l 3,
2008 E€u`er received by §he plaintiff frc)m the defendam “voiding” coverage §§ attached hamm as
Ex}libit “,»'-`5.”.

§4. Aithough initially accep¥jng a payment and issuing Expianation of Beaefits
(EOB) for acme of the medically reasenable and necessary expenses incmr:::d in imminent of the
plaimif§”s heart amck, the defendant, Golden Rule insanisz Company subsequently yefus€>d,
and continues to rc§lsc, payment for these medica`i expenses incurred by the plaintiff 111
treatment of this life threatening condition

BREA£H 05 CON’I`RACT

IS. The p}sjmiff hereby adopts and incorporates by reference we allegations
wilminch in Paragrap§l$ 1-14.

1151 T]ze plajn£ifi` and the defendanl, Gokk:n Rule hagurauce Company, frey good and
valuable consideration, entered in€\;) 3 contract of insuxanc:e. As pad of this insm“a.nce contract,
z;he éefendant, Golden Rule Insurance Company, agreeé, among other things, w pay covered
expenses, including medical beneiits. Cc)vered expense, §i£hin fha definitions of this conmct of
insurance means “.,. an expense Wh§ch is: {A} incurreé while you OI your dependent’s insurance
is enfcx'c:e<il under the psiicy', (B) covered by a specific benefit provision of the ps§icy; and (C}
nut exciuzied ex immiin anywhere in the poi§cy.”

E?. Thai the mediczz.'i expenses incurred by the glade in tcemm€m of his heart attack
W?iich counted on December 22, 206'7 are included within the definition of “covered ex§)cu$e”
and, funbez, fail W§t?;in medical bcnciiis ta be provided by the sie§`endazat G{>lc§en Rulf: Izlsuxazxce

Company 19 the piainti§funder tim terms of this policy Ofilzsnz‘ance-

 

 

 

 

 

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18. The defenc§ant, G€)irien Rule lawrence Cz)mpauy, by fai}ing and zei"uséng to pay
fox these covercé expense$ has breache€`i its <:<)mra~::t of insaance ‘Wi€h aba plaimif§ re§~'i?iz:g in
reasonably foreseeable damages, los;»:ez;, and expen$es ‘:G tile p§a;imif£ apacii'zcsl§y including but
not Limi‘ied to, the medical expenses incun‘€=d in neatment of this life ihreafenmg heart ana$k.

ES'FOPPEL

19 'l`he plaintiff hereby adopts and incorporates by residence each uzmd every
allegazi<m contained in Paragraphs §_~ES_

?,G, me the inception of ’zhis contract of imminence as issued 011 Mazc}: l, 298?, the
plaide finler pa§d, and iba defendant, Gc.ldsn Rule lnsu-cance Compzmy, received mci
accepted, prmms for this insurance coverage up throughJ and including 1336 times peztineni 10
the plain¥i§f’ 3 tr€ama€ni f€)r his heart attack

21. Thc ée§endan%_, Golden Rule lnsuyamce Compazzy, initial!'y accepted the expenses
suhmit£ed by this plaintiff and his treating healthcare providers §cgarding the treatment of his
bean attack and, in fact, issued Exp]anadon of Benef`lts {EGB) zega:ding coverage cf ibew
expenses.

22. The defendant Gc)lc‘e~n Rn}e insurance Compauy, by accepting ‘;l'se prcmiz:ms paid
§)y the plaide ionly tendering the Ietum of these premiums after its wmng atwmp£ to void
this policy of insurance), as well as its actions in accepting the expenses re§ated to the treatm§nt
of the bean attack as covered expenses, is now estopped i?s;rm denying 301/erng amf benefits 10
file plaintiffde ‘S'LiS policy ofinsurance.

M§SREPRESENTATK)N
23. 'i`he plaintiff hereby adopts and incorpora¥es by reference all a}]egations contained

in Paragraphs ]-2.?, above.

 

 

 

 

 

 

 

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2 . A; ali times maiei“ia§ herein, the defendant, C]aestei Shmoiéas, was the appointed
ageni cf the defendani, Goldcn Rizie "" summa Company. Ti at, as such ali acti<>iis, ce-.i-.uci ami
represeniaiionx of the defeniiani, Ciiesier Siiznoidas, axe imputed to the defen§ani, Goidezi R.uie
lowrance Company.

25. Pnt aii times material to the solicitation of this yo§_icy of insilzance, and a
subsequent application for same submitted by Mr. Shmokfas on behalf of inc plaintii`f, the
ée€endant Cheszer Shmeidas was fui}y aware that the piaintii“i:` was a smoker asid, further, it Was
the defendant, Che,s€:ex S`:zmoidas, who actually compietcs§ and ciccironica!ly signed the
appiicaiion for insurancc. 111 the interview process leading u;:: to wis application of msu:ance,
the plaintiff atlmpte=£i, to ihs best of his information an<§ lay knowlng witixou'c bench vi ‘
medic£ mining to respond to the infomatioiz requested by file defendant Chester Shmoidas.

26. At no time did the defenéant Cb€:$ter Siimoidas zequvsi additional izzfonmaficm nor
did he fully explain questions listed in the application form

2'?. To tile contrary, the defendant Chesie:r Sizm¢:)}eias, a§r:naiive§y represented that
the infonnation submitted by the plaintifi`, in response to MI, Shme§das’ questioning from tile
app}icat.ion, Was sazisfac-tery and thai aov-352ng wou}d be ai`&)rdcri the pia;intiii under this peii<;y
0€ insurarice. The plaintiff materiaiiy relied upon the rcprcsr:raiatiozi so made by the defendani
Chester Simiol;ias 110 the plaintiffs resulting detriment

28. 'I`he knowiecige of the defendant Che:s’£er Shmo]<*ias, as the di:éy appoinied agent
o£tbe defendant Goiden Riiie lnsuraair:e Compzmy, presented 10 T.C.A. § 56-6»§ }5, is imputed tel
the defendani G<)irien Rizie lumch Cnmpzmy.

29. `ln the ai“£cmaiive: simuid ii be determined thai tim defendam Chesie.r Shm§)irias is

an independent producer, as ailcgeé by the de£endant Goi€ieri Ri:ie insurance Compazzy iiien_, in

 

 

 

""'~~"-""'_"‘~GAS€ 2109-Cv-02332-BBD-tmp Document 1-1 Filed 05/27/09 Page 11 0115 page|D 15

feat event, the defendant CheSt€:r Slm:zoldas simuid be individuaily liable and responsible for his
misre;iie$@maiions of {a<:i as maci& w fha piaintif§ concerning the SG-licita:i€>n and applicazion far
ihis Sui:jec:t policy iii im_§mar;cc:.
WOLATION OF TBENWESSEE CGNSUMER PROTECTION AC’?

39. Thf: plai:itiffl:rer<:by adopts and incorpora£es by reference all allegaijons wmiaix?.ed

in lemgaphs 1~29.
l 31. Ai; all tim&s pertinent hereto, T.C.A. §§?»lB-EOE §§ §§_q. (fhe Tennessec Consumer

Prs);ection Act) Was in fqu fmcc and e§`ect.

32. The ccut:ac: of insurance by ami between the piaiiitiH and the defendant G<)lclen
Rule lnsuxance Compaziy promised payment cf those “coverecl expenses” reasonably to be
incur:cd by the plazde in treatment of this life threatening hem attack H<)wever, the coverage
50 premised to fhc plainti&` was largely illusory due to tile unfair and dca:epi;ive practices of the
defendant Goiden Rulc inguraxice Compa.ny, in orie, more or all oftlae following particulars:

zi) la using am application for coverage thai poses qu§stioas w the consumer, such as
this plaintiiif, in a confusing and ambigu€zus fashiono using verbiage That few consumers
understand ami, when asking consumers to make judgments about their medical c:in<iition that
few consumers are c£)mpetent is maizc, lee application is essentially a trap for the unwary that
maximize-s the possibility that it wiil comain sims or omissions that this defendant can later usc
as a puipo;rted basis fear rescission of the wntrac€ of insuranced

b) ‘i`lie defendant markets its healthcare coverage products principally through
agents who lack meam'zigfal trainiizg in tillng a health history, Wlie have an economic incentive

z:;) avoid fha disc-limine 0§ adverse informatio:i imm the consumefs medical hiszory, who are

 

 

 

 

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themselves unable to explain the defent§ant’s confusitrg and srsbiguoos application omit who act
ts’i'thoot mosslng§sl supervisiorz or oversight try this ds£sso&st,

o} Altl'lough the medical })jstory information oomairied orr 21 completed application is
unreliable for the foregoing ressons, and although more accurate and complete information is
readily available to the deferrde the information on the application is rarely inv%tigateé by the
defendant’s mdcmrll;iug department prior to the issuance of coversge. U~pon information and
belist`, drs oefenclsnt’s understating department typically takes no steps to investigate an
applicants medical tdstory emil after learning that the consumer requires an expensive medical
procedure or course of treatment lt is only st that poir;t, tbl]owing the Stlbmission of a claim,
that the defendant undertakes a post-claims soderwriting process

d} la the post~clajms underwriting process the detentisz makes no meaningful
attempt to ascertain whether there is an innocent uplanation for the alleged error‘or omission
lmdeed, the defendasst made no effort to request as explanation or additional information §rom
the dcr”cndant make any other effort to ascertain whether the plairltiiic Ws.s even aware of this
supposedly undisclosed medical condition that gave rise to the apparent discrepancy Rathor, the
defendant, Golden Role Irtsurarzc»s Company, unilaterally attempted to rescind the contract of '
insurance w§thout any requests for input or explanation by the plsiot§ti

e} ln the post-claims underwriting process the defendant applies an incorrect legal
standard in &€tetminirtg whether rescission is Ws.rranted, even sensing the plaintift`s policy of
insurance in innocent errors or omissions jo contravention of the legal standard required under
T.C.A. § 56~?~1‘33.

i) Although purporting to investigate the submitter medical experrse to detemine if

the heart attack Sufl`€red by the plaintiff Was related to s "‘pre-existing condition”, the de§sndant,

 

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Go]den Rulc IBSm‘anc-e Campany, izzstc:a<i engaged in the d-ecep§z";§: practice of continuing aposz~
claim und@r'v'vz‘:i‘§:§ng investigatich zeiaiing w matias unrevsz ami not maieri£ to ina conditisa
{ giving r§se to the ciaim.

33. 'L’he aforementioned unfair and deceptive premises committed by the §efendam
Gol<ien Ru}e lawrence Cornpany entitle the giade to recover unde-:r the 'I`emessee Censumer
P:roiect:ion Act.

W"i-IBRHPCRE, the piaintij`f, 306 D. Moscon? <§emands judgmenz against the defeadants
Go§derz Rule lmmance Cc>mpzmy ami C§':estez" Shmel_das, as follows:

{1) 'l'h§ xe:insiatement of the comaci cf insuzam:e 30 as to provide payment for all
“‘covered expenses" as defamed in said policy cf insm'am:e;

(2) Mohey judgment in the amount of 3250_.{300.{}9, jointly and severally as against
the defendant;

{3) Punitive damages in an amount not m exceed §25¢,@{}0.&0 as against 1516
defex}dant Gc)}den R_u§e lasurauce Cc)mpzmy only;

{4) ?.n die al€emati\re, an award cf treble damages under the Tenz:c:ssee Consumcr -
P:~otea;:i¢m A<::z agains*c the defen§ant Go!<ien Rule lawrence Compamy ordy;

{5) An award of attorney fees in favor of the plaintiff as allowed under the Tennessc:/c
\Consmner Protection Act; ‘

{6} lara-judgment mci post-judgment interes§:;

(?) Suc.h other relief, boi§z iegal and cqujtablf:, to Wh.i<:h the plaintiff may be entitied.

 

 

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'§`HE PLAINTIFF RESPECTI""ULLY DEMA.NDS A `JUR,Y 'I`Q TRY ALL IS SUES.

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Ths Howard~?iynn Law Gmup
119 South Main' Strect, Sui‘:e 500
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